In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-10             Filed 09/28/07 Entered 09/28/07 16:40:29                                  Exhibit E-3
                                                                                                            Pg 1 of 3                                                                 Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT E-3 - MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                    CLAIM AS MODIFIED

Claim: 8725
                                                   Claim Holder Name and Address
Date Filed: 06/28/2006
Docketed Total:   $57,311.51                       AMROC INVESTMENTS LLC                            Docketed Total:                  $57,311.51   AMROC INVESTMENTS LLC               Modified Total:               $50,789.04
Filing Creditor Name and Address:                  535 MADISON AVE 15TH FL                                                                        535 MADISON AVE 15TH FL
  AMROC INVESTMENTS LLC AS                         NEW YORK, NY 10022                                                                             NEW YORK, NY 10022
  ASSIGNEE OF SINCLAIR & RUSH
  INC                                             Case Number*                     Secured            Priority                  Unsecured         Case Number*         Secured              Priority           Unsecured
  535 MADISON AVE 15TH FL                         05-44640                                                                           $57,311.51   05-44640                                         $3,491.22        $47,297.82
  NEW YORK, NY 10022
                                                                                                                                     $57,311.51                                                   $3,491.22         $47,297.82

Claim: 273
              11/01/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $953,170.47                    HAIN CAPITAL HOLDINGS LLC                        Docketed Total:                 $953,170.47   HAIN CAPITAL HOLDINGS LLC           Modified Total:              $944,660.93
Filing Creditor Name and Address:                  301 RTE 17 6TH FL                                                                              301 RTE 17 6TH FL
  ENGINEERED MATERIALS                             RUTHERFORD, NJ 07070                                                                           RUTHERFORD, NJ 07070
  SOLUTION INC
  39 PERRY AVE                                    Case Number*                     Secured            Priority                  Unsecured         Case Number*         Secured              Priority           Unsecured
  ATTLEBORO, MA 02703                             05-44481                            $311,406.63                                   $641,763.84   05-44640                                       $43,198.89        $901,462.04

                                                                                      $311,406.63                                   $641,763.84                                                  $43,198.89        $901,462.04

Claim: 12839
                                                   Claim Holder Name and Address
Date Filed: 07/28/2006
Docketed Total:   $492,938.78                      FUJITSU COMPONENTS AMERICA                       Docketed Total:                 $492,938.78   FUJITSU COMPONENTS AMERICA          Modified Total:              $470,221.58
Filing Creditor Name and Address:                  INC                                                                                            INC
  FUJITSU COMPONENTS AMERICA                       250 E CARIBBEAN DR                                                                             250 E CARIBBEAN DR
  INC                                              SUNNYVALE, CA 94086                                                                            SUNNYVALE, CA 94086
  250 E CARIBBEAN DR
  SUNNYVALE, CA 94086                             Case Number*                     Secured            Priority                  Unsecured         Case Number*         Secured              Priority           Unsecured
                                                  05-44640                                                                          $492,938.78   05-44640                                         $2,018.40       $468,203.18

                                                                                                                                    $492,938.78                                                   $2,018.40        $468,203.18




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-10      Filed 09/28/07 Entered 09/28/07 16:40:29                                Exhibit E-3
                                                                                                     Pg 2 of 3                                                               Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT E-3 - MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                             CLAIM AS MODIFIED

Claim: 6943
                                                   Claim Holder Name and Address
Date Filed: 05/26/2006
Docketed Total:   $806,779.79                      AMROC INVESTMENTS LLC                     Docketed Total:                 $747,926.37   AMROC INVESTMENTS LLC             Modified Total:              $803,540.39
Filing Creditor Name and Address:                  535 MADISON AVE 15TH FL                                                                 535 MADISON AVE 15TH FL
  IRISO USA INC                                    NEW YORK, NY 10022                                                                      NEW YORK, NY 10022
  34405 W TWELVE MILE RD STE
  237                                             Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured           Priority           Unsecured
  FARMINGTON HILLS, MI 48331                      05-44640                                                                   $747,926.37   05-44640                                     $58,853.42        $744,686.97

                                                                                                                             $747,926.37                                                $58,853.42        $744,686.97

Claim: 14403
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $6,240.00                        KOSTAL OF AMERICA INC                     Docketed Total:                   $6,240.00   KOSTAL OF AMERICA INC             Modified Total:                 $6,240.00
Filing Creditor Name and Address:                  40950 WOODWARD AVE STE 100                                                              40950 WOODWARD AVE STE 100
  KOSTAL OF AMERICA INC                            BLOOMFIELD HILLS, MI 48304                                                              BLOOMFIELD HILLS, MI 48304
  40950 WOODWARD AVE STE 100
  BLOOMFIELD HILLS, MI 48304                      Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured           Priority           Unsecured
                                                  05-44567                                                                     $6,240.00   05-44567                                       $1,872.00          $4,368.00

                                                                                                                               $6,240.00                                                 $1,872.00           $4,368.00

Claim: 14479
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $609,554.90                      SPCP GROUP LLC AS AGENT FOR               Docketed Total:                 $609,554.90   SPCP GROUP LLC AS AGENT FOR       Modified Total:              $567,396.36
Filing Creditor Name and Address:                  SILVER POINT CAPITAL FUND LP                                                            SILVER POINT CAPITAL FUND LP
  KOSTAL OF AMERICA INC                            AND SILVER POINT CAPITAL                                                                AND SILVER POINT CAPITAL
  40950 WOODWARD AVE STE 100                       OFFSHORE FUND LTD                                                                       OFFSHORE FUND LTD
  BLOOMFIELD HILLS, MI 48304                       TWO GREENWICH PLZ 1ST FL                                                                TWO GREENWICH PLZ 1ST FL
                                                   GREENWICH, CT 06830                                                                     GREENWICH, CT 06830


                                                  Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured           Priority           Unsecured
                                                  05-44640                                                                   $609,554.90   05-44640                                                       $567,396.36

                                                                                                                             $609,554.90                                                                  $567,396.36




*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
In re Delphi Corporation, et al.
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                                                                                                           Pg 3 of 3                                                                   Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT E-3 - MODIFIED CLAIMS ASSERTING RECLAMATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                                   CLAIM AS MODIFIED

Claim: 8317
                                                   Claim Holder Name and Address
Date Filed: 06/21/2006
Docketed Total:   $86,804.08                       HAIN CAPITAL HOLDINGS LLC                       Docketed Total:                  $86,804.08   HAIN CAPITAL HOLDINGS LLC             Modified Total:              $81,284.63
Filing Creditor Name and Address:                  301 RTE 17 6TH FL                                                                             301 RTE 17 6TH FL
  METAL SURFACES INC                               RUTHERFORD, NJ 07070                                                                          RUTHERFORD, NJ 07070
  6060 SHULL ST
  BELL GARDENS, CA 90201                          Case Number*                     Secured           Priority                  Unsecured         Case Number*          Secured              Priority           Unsecured
                                                  05-44539                                                  $9,354.04               $77,450.04   05-44539                                          $8,234.65        $73,049.98

                                                                                                           $9,354.04                $77,450.04                                                    $8,234.65         $73,049.98

Claim: 9962
                                                   Claim Holder Name and Address
Date Filed: 07/19/2006
Docketed Total:   $963,916.70                      OSRAM OPTO SEMICONDUCTORS                       Docketed Total:                 $963,916.70   OSRAM OPTO SEMICONDUCTORS             Modified Total:             $963,916.70
Filing Creditor Name and Address:                  INC                                                                                           INC
  OSRAM OPTO SEMICONDUCTORS                        COOLEY GODWARD LLP                                                                            COOLEY GODWARD LLP
  INC                                              101 CALIFORNIA ST 5TH FL                                                                      101 CALIFORNIA ST 5TH FL
  COOLEY GODWARD LLP                               SAN FRANCISCO, CA 94111-5800                                                                  SAN FRANCISCO, CA 94111-5800
  101 CALIFORNIA ST 5TH FL
  SAN FRANCISCO, CA 94111-5800                    Case Number*                     Secured           Priority                  Unsecured         Case Number*          Secured              Priority           Unsecured
                                                  05-44640                                   UNL                                   $963,916.70   05-44640                                        $88,989.40        $874,927.30

                                                                                             UNL                                   $963,916.70                                                   $88,989.40        $874,927.30

Claim: 14102
                                                   Claim Holder Name and Address
Date Filed: 07/31/2006
Docketed Total:   $38,399.50                       PHOTO STENCIL LLC                               Docketed Total:                  $38,399.50   PHOTO STENCIL LLC                     Modified Total:              $25,389.48
Filing Creditor Name and Address:                  ROTHGERBER JOHNSON & LYONS                                                                    ROTHGERBER JOHNSON & LYONS
  PHOTO STENCIL LLC                                LLP                                                                                           LLP
  ROTHGERBER JOHNSON & LYONS                       1200 17TH ST STE 3000                                                                         1200 17TH ST STE 3000
  LLP                                              DENVER, CO 80202-5855                                                                         DENVER, CO 80202-5855
  1200 17TH ST STE 3000
  DENVER, CO 80202-5855                           Case Number*                     Secured           Priority                  Unsecured         Case Number*          Secured              Priority           Unsecured
                                                  05-44481                                                                          $38,399.50   05-44640                                          $5,295.00        $17,494.48
                                                                                                                                                 05-44567                                                            $2,600.00
                                                                                                                                    $38,399.50
                                                                                                                                                                                                  $5,295.00         $20,094.48


                                                                                                                                                      Total Claims to be Modified: 9
                                                                                                                                                      Total Amount as Docketed:         $4,015,115.73
                                                                                                                                                      Total Amount as Modified:         $3,913,661.91

*See Exhibit G for a listing of debtor entities by case number.
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*UNL stands for unliquidated
